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SVWOII.I, ‘CI_L'I .NOLLSHHlS,NOD WVH_LVHO ‘Gl'l NOI.LD(`IH.I.SNOD f.LD

‘cr.n J.Nawdo”LE[AHCI GNV”I EmNElAv NOJ.HH'I'IH=I B/>vv ‘cll”l‘.r.NHI/\Ido'la/\acr

CINV"I NO_LHH’I'I.IM Sw'epua;ep am umo_fpe 01 masuo:) s_.]._.mu;uld aq]_

:;eq; s¢{er.uom: pauB;slapurn am naaqu

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NOI.LV'I{I<II.I.S

(}ISI`) €9LS AD LO `°N 1310

 

'Smpua;acl

‘IZZn *&HH<IO.LSIHH:) Pu€ fvl:)DINVJ
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‘s'lvl`dHJ.VI/~l Hmva anna ‘-"cxm "swzu.s)\$
'IVSO<ISICI GNV Nozlvwc)as NVHJ.
NV:)mm/\lv l€/>I/€ "'DNI “SWH.I.SAS
'IVSOdSIG GNV NO!J.V.I.HQJSNVHJ.
H.Luva anna f';)Nr ‘H_LWH mind

ED’I'I SwEu.SAS 'WSOJSIU HAI.LVAONNI
50'1”1 ‘NOILQnHJ.S,NOD ?ISS?_-INI:I

f‘;)Nl DNmr)nm. V.r...r.znmol

t'Cll”l ‘NOIL;)QHLSNO:) wvH.I.VHG ‘»'Gm

f ‘N.C|IlD{l}U_SNOZ) U,Cl 5'CU_'I ‘.I.NEIWJO"II[A‘EIC[

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‘"EDJNI:I ')INVH:I ‘lzzo‘dld ANOHJ.NV
‘ONVNDISIH Smo'r _"V'Iclml ElDNC~lzl/¥\V'l
‘Ic'rvnsao szOH`L ‘WAHHVH v'l mvo

 

)DIOA N\HN :IO .I.DIH_LSICI NH”:IH_LHOS
J.HI`\OU J.Sl'HlSICI SELLV_I.S (]':LLINH

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PW'.'_)N] DNDIO[RIJ. V.I..I.ERI}IO_L ‘VlDOINVd SV"IOHOIN ‘Ol.INO_`[,.].V

S/S:'c| ESLVE»VE)V`£E»T:°L EL@E» ETL ETE :|`|UM NUNCEIE|_~|=“’°“‘:| VS=LT .J_@@E'LE-cES

